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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO

MH, TB, KB, SG, AC, BM, individually, and G
Doe, by and through her parents and next friends,   Case No. 1:22-cv-00409-REP
JANE Doe and JOHN Doe,
                                                    DECLARATION OF
                                      Plaintiffs,   AARON M. GREEN

v.

ALEX J. ADAMS, in his official capacity as the
Director of the Idaho Department of Health and
Welfare; Dr. MAGNI HAMSO, in her official
capacity as the Medical Director of the Idaho
Division of Medicaid and individually; and the
IDAHO DEPARTMENT OF HEALTH AND
WELFARE,

                                    Defendants.
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       I, Aaron M. Green, declare and affirm that the following is true and correct under

penalty of perjury.

       1.   I am 18 years of age and competent to testify.

       2.   I am counsel of record in the above captioned matter for Defendants.

       3.   On September 4, 2024, Plaintiffs propounded discovery requests to Defendants

but never provided proposed search terms despite both sides identifying ESI liaisons.

       4.   I attended the hearing on November 22, 2024, on Plaintiffs’ Motion for a

Preliminary Injunction.

       5.   I do not recall Plaintiffs ever raising the need to prepare their clients for

depositions with documents in Defendants’ possession as a reason for delaying depositions.

       6.   To the contrary, the only specific reason raised by Plaintiffs’ counsel that I recall

for delaying depositions was the injury to Plaintiffs’ counsel Mr. Belodoff.

       7.   On December 4, 2024, Plaintiffs’ counsel Ms. Gordon sent a discovery dispute

letter to my colleagues and I, seeking a meet and confer and raising various areas of dispute.

       8.   None of those areas of dispute included a need to prepare their clients for their

own depositions with Defendants’ documents.

       9.   I attended and participated in the meet and confer held virtually between Plaintiffs’

and Defendants’ counsel on December 10, 2024.

       10. On December 10, 2024, I do not recall Plaintiffs’ counsel ever raising the need to

prepare their clients for depositions with documents or discovery responses as a reason for

delaying depositions.



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       11. In fact, I do not recall Plaintiffs ever raising the need to prepare their own clients

with Defendants’ documents or discovery responses as a reason to delay depositions.

       12. Again, the only explicit rationale for extending discovery further that was provided

by Plaintiffs’ counsel was the injury to Plaintiffs’ counsel.

       13. Mr. Belodoff indicated during the December 10 meet and confer that his primary

desire with respect to document production was the prompt production of a privilege log,

along with more frequent communication about the status of our rolling production.

       14. We conceded at the December 10 that our communication could have been more

frequent but explained that our staff (including myself and paralegals who ordinarily would

have been reviewing documents over the month of November) had been needed for a

multiple-week civil trial in Ada County—Adkins v. State of Idaho.

       15. On December 10, I agreed to both requests for a privilege log and supplemented

production, promising a privilege log to be delivered that Friday, December 13, 2024, as well

as a supplemented production of responsive documents.

       16. I also affirmed on December 10 our desire to be more communicative about the

status of our rolling production.

       17. With respect to our discussion of search terms on December 10, I invited Plaintiffs

to provide us with any additional search terms or custodians that they wanted us to examine

and reminded them (as I had in writing earlier that day, see Exhibit 5, 14) that we had already

given them search terms, and had invited them back in early October to narrow the search

with more specific terms.




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       18. On December 10, Mr. Belodoff agreed to provide any additional search terms in

about a week, suggesting initially that the term “sex reassignment” should have been included,

before both parties realized that the term had already been used by Defendants in their search.

       19. Both representations made by Defendants’ counsel on December 10 were kept: I

delivered to opposing counsel a privilege log that Friday (which has since been produced at

least twice to the Court) alongside a supplemental production and have provided roughly

weekly updates on the status of our review.

       20. I have also updated counsel regularly with the status of our rolling production and

provided supplements to production or the privilege log as necessary.

       21. Plaintiffs’ counsel affirmed during the Meet and Confer that additional extensions

to fact discovery would be granted.

       22. Of special note: towards the end of the Meet and Confer call, I have a distinct and

vivid recollection of my colleague, Greg Woodard, asking Mr. Belodoff whether he intended

to enforce the January 9, 2025, fact discovery cutoff. Mr. Woodard appeared intent on

confirming the parties mutual understanding that this was not the case before the call

concluded.

       23. Mr. Belodoff’s response to that question was “No” along with a shake of the head

indicating the same.

       24. On December 27, 2024, in keeping with my recollection of counsel’s

representations (as I noted in that email, see Exhibit 7), I sent an email to Plaintiffs’ counsel

seeking to formalize an extension of time beyond January 9, 2025, for fact discovery. In

addition to that deadline, which counsel had represented he would move, I requested a


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stipulation to two other deadlines I thought would make sense to move as well. The email

invited dialogue as to the particulars of any extension.

       25. On December 30, 2024, I was surprised when Defendants’ counsel Ms. Gordon

rejected any extension categorically, given the previous representations of her co-counsel. That

denial prompted this round of motion practice.

       26. Plaintiffs still have not reached out with any additional search terms.

       27. Attached to my declaration are true and correct copies of emails between myself,

Mr. Woodard, and Plaintiffs’ counsel (Exhs. 1-12), a meet and confer letter from Plaintiffs’

counsel (Ex. 13) and responsive letters from Defendants’ counsel (Exhs 14, 15).


       DATED: January 15, 2025.


                                               STATE OF IDAHO
                                               OFFICE OF THE ATTORNEY GENERAL


                                         By:     /s/ Aaron M. Green
                                                  AARON M. GREEN
                                                  Deputy Attorney General




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                             CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on January 15, 2025, the foregoing was electronically filed with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to
the following persons:


  Howard A. Belodoff
  hbelodoff@hotmail.com

  Jane Catherine Gordon
  Jane@JaneGordonLaw.com

  Attorneys for Plaintiffs



                                              /s/ Aaron M. Green
                                              AARON M. GREEN




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